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                                                                     FILEDby PG D,c.
                               UNITED STATES DISTRICT COURT
                               SOBTHERN DISTRICT OF FLORIDA
                                                                        N0V 2S 2218
                                                                      STEVEN M.LARIMORE
                                                                      CLERK U s.Dls'r c'r
UNITED STATES OF AMERICA                                               s o cfFI
                                                                              .A - MIAMI


               V.
                                                 CRIMINAL DOCKET NO. 17-20081-CR-M/M
ABDUL     PIERRELPS
           DEFENDANT/MOVANT

                          DECLARATION IN SUPPORT OF MOTION

               1, ABDUL PIERRELUS declare the following under penalty of perjury
    pursuant to 28 U.S.C . 1746:
    1 . That I am the movan t in this action as such I am familiar with the
        facts of this case .     submit th is declaration     support of my       U . S.C.
        2255 petition .
    2 . That after my indictment I retained Jason Kreiss, Esq . to represent me
        in this criminal proceeding . He represented me to the extent          negotiating
        the plea agreement.

    3 . 1 was disappointed with Mr . Kreiss 's represen tation , so I fired him
    and retained Ms . Kristin D. Figue-roa-contreras as my new defense attornèy .
    She took over the represen tation and also failed to properly negotiate
    the issue of loss and what          was responsib le for . She simply had me sign
    the same agreemen t negotiated by Hr . Kreiss. Sh e told me that 1 had no
    option .
    4.She never mentioned anything to me about the Presen tence Inv estigation

    Report       PSR). Thus,      had no knowledge of the existence of the PSR until
         got to prison at D. Ray James and an inmate told me about the PSR . So
    requested to see a copy from my Prison Case Manager . That was how I

    realized that         only was      sentenced on a $167,073 loss, I was also
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 ordered to pay restitution in the same amoun t. Beyond that I was also
 enhanced at sentencing with 2 points as a leader . How could            be a
 leader in a crime where I was a minor participant. The extant record
 does not even support such enhancement but counsel did nothing to

 oppose the government. She did not file any objection to the PSR as
 required by law .    She did not oppose th e loss amount, the enhancement
 and the restitution at sentencing in open Court.
 5. MS. Contreras did not take any steps to investigate my case to get
 the facts of the case . She failed to request proper discovery from the
 government. Thusy she sheepishly accepted whatever the government
 claimed even where the government had no evidence to back up its claim .
 6. Based on the foregoing , it        clear that b0th Mr . Kreiss and Ms
 Figueroa were not acting as attorneys within the an ticipation of the
 Sith Amendmen t of the United States Constitution .
 7. To assist me in filing a 2255 petition ,         retained the services of
 Paul     Petruzzi P.A . to represent me . Although        paid the initial

 deposit and retainer in the sum of $7,500 to Hr. Petruzzi, he promised
 to file the necessary papers, but he never did until the statutory time
 to file a 2255 petition had expired .        was sen tenced on June       2017. So
 I had until May 30y 2018 , to file my 2255 .        retained Hr. Petruzzi on
 October 19, 2017. He had seven months within which             file the 2255 on
 my behalf, but he never did .
 8. Because     had paid Mr . Petruzzi       file the 2255 petition and he had

 promised that he w ill file           believed him . By the time I realized
 that he did not keep        the terms of the agreement, and did not file
 the 2255,      was already late. Thusz my lateness in filing this 2255
 petition is the result of Mr . Petruzzi 's ineffective assistance as my
 counsek who was hired specifically to file the 2255 petition . See a
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  copy of the Retainer agreement for Hr . Petruzzi attached herein as
  Exhibit
  9.      Petruzzi also was ineffective in failing to follow my instruction
  which specifically mandated him to file a 2255 petition on my behalf
  seven months prior to the expiration of the one year statute . In view
  of th is development I request the Court to enlarge the time and permit
  this late filing . Hy tardiness is strictly a consequence           ineffective

  assistance of Mr. Petruzzi,the counsel        retained to         the papers

  on my behalf but he failed and/or neglected to do so.

    DATED Z FOLKSTON , GEORGIA
            N     ER 14, 2018 .
    RESP T      Y SUBMITTED
s..v          )
 t DUL PIERRELUS
  B.O.P. # 09826-104
  D. RAY JAMES CORRECTIONAL FACILITY
  P-
   .O. B0X 2000
  FOLKSTON, GA . 31537.
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                           MEMORANDUM OF LAW IN SUPPORT
                                  OF 2255 MOTION


 COMES N0W ABDUL PIERRELUS , Hovan t and for his Memorandum of law states
 the following :
  '' To allege a successful ineffective assistance           counsel claim a

 defendant must show that:          Counsel's performance was unreasonably

 deficient under prevailing professional standards and (2) but for Counsel's
 unprofessional errors, there exist a reasonable probability that the
  result would hav e been differen t.'î Buited States V . St. Clair, 714

 Fed. Appx. 453 ( 5th Cir. 2018) Quoting Strickland V. Washington, 466
 U.S. 668, 687, 694, 80 L.Ed. 2d 674(1984).
       The Supreme Court has '' rejected the argument              that a knowing
 and voluntary plea supersedes errors by defense coun sel - '' Missour: v.

 Rye, 566 U.S. 134, 141, 182 L. Ed 2d 379 (2012). Thusy             is possible
 that a plea can be voluntary and knowing and yet th e Counsel could be
 found ineffective for         performance       representing defendant either

 at the plea level or at sen tencing .         th e case at bar , movant adm itted
 guilt for the role he played in this crime , however, movant does not

 admit that he was responsible for a loss of $167,073, or that he was the
 leader in this criminal conspiracy . There were only two defendant in the

 con spiracy . The other       is the top of the indictmen t and         the
 discovery and priffer refer mainly to h is role and ac tivities . Movant's
 role was very tangential in this crime .
         Part of movants claim may be successfully analyzed under the
 Supreme Courtfs alternate theory as stated in the case of United State s

    Cronic, 466 U.S. 648, 80 L.Ed 2d 657 (1984)( stating that if there has
been such an abdication of advocacy that the prosecution 's case was not


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 subjected to meaningful testing, a defendant need not demonstrate that
 he was prejudiced by counsel's actions.
         In the case at bar , movant retained the services of Paul D .
 Petruzzi , P.A . to file a 2255 for h im . He retained this attorney and
 paid him 7 months prior to the expiration of the one year statute of

 limitation within which        file a 2255.        Petruzzi, failed and/or
 neglected to file the 2255 until this day. This by a1l standards
 per se case      ineffective assistance of counsel .        A movant attempting
 to show that Counsel was constitutionally ineffective for failing to file
 an Appeal ,    must show that Counsel 's performance was deficient and

 that this deficiency was prejudicial to him.'' Thompson V. United States
 504 F. 3d 1203, 1206       11th Cir. 2007). The circuit has held that
 Counsel acts deficiently when he disregards specific instructions from
 the defendant to file a notice of appeal.The Supreme Court held the same
 standard      the case      Roe V . Flores-ortega , 528 U.S. 470, 477, 145 L .Ed
 2d 985 (2000). When a defendant instructs her counsel to file an appeal,
 and no appeal is filed, prejudice is presumed.'' Daniels V. United Statesy
 2017 U.S. App. Lexis 26956 ( 11th Cir. 2017). Therefore, movant does not
 expect any opposition from the government in this case where Mr. Petruzzi
 took movan ts money and victimized him by failing to file movants 2255
 motion until the statutory time expired .
         Movants sentencing attorney Ms. Figueroa-contreras was so ineffectivt
 that she did not show movant acopy of the Presentence Investigative

 report. She never discussed          She did not         any objection and
 at sentencing, she failed to object to any of the contents of the PSR.
 Thus, the prosecution had a field day. A11 the figures the prosecution
 wanted were accepted without any question or challenge . To the extent that

 Movant who is       al1 standards a minor player got a higher jail time than
                                           2
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     his co-defendan t who was at the head of the indictment and who actually
     was the main actor as shown by the governmentfs proffer .
               Counsel's performance was so poor that movan t                  was enhanced with

     2 level points for leadersh ip , where he played a minor role . Moreso , the
     conspiracy charge was only two participan ts, so how could movant be a leadez
     Who was he leading or who did he supervise.î These are questions the
     sentencing counsel failed                        ask. That failure to test prosecutions case
     resulted in higher sentence to the movant. Thus, movant suffered direct

     and discernible prejudice as a result of counsels ineffectiveness.
               In light of the foregoing, movant prays this Court                     grant his
     motion holding that th ese Counsel's were ineffective                       the various

     roles they played                   this case and that movant suffered prejudice as
     result of the failure of                         attorneys to properly represent him .


     DATED :    OL TON, GEORGIA
               N  MBER 14 , 2018.
     R   P          LY SUBMITTED
K'   -   - -
               p
               =- - - . - - - - - - - - - - - - - -
     ABDUL PIERRELUS
     B.O.P. # 09826-104
     D . RAY JAMES CORRECTIONAL FACIL ITY
     P .O . BOX 2000
     FOLKSTONE, GEORGIA 31537.




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                                  ATTO RNEY CS FEE AG REEM ENT

                 PAUL D.PETRUZZI,P.A.(hereinaher referred to as GWttorne#''lagreesto
          representAbdulPierrelus,(hereinaherreferredtoasçflient'')inconnectionwith United
          Statesv.AbdulPierrelus,CaseN o.17-Cr-20081-M oore.
                 Client and undersigned Guarantor agree to com pensate A ttorney PAU L D .
          PETRUZZI,P.A.,the sum of $15,000.00, for representation in either a motion for
          reductionbasedonhiscooperationgursuanttoRule35oftheFederalRulesofCriminal
          Procedure'or a M otio'n to V acate h1s Conviction and Sentence pursuantto 28 U .S.C.j
          2255.The parties agree thataftercounselhas a conversation with the Client,the Client
          m ust decide in vzriting his choice to either pursue a Rule 35 or a M otion to Vacate
          (pursuantto 28 U.S.C.j 2255). This willsupplementthe fee agreement, Client,
          undersir ed Guarantor, and Counsel agree that at the signing of this agreement, a
          paymentof$7,500.00 willbemade.Thereaher,thepartiesagreethatmonthly payments
          of at least $1,000.00 a month shall be due on the 18th of evely month stm ing in
          Novem berof2017. The partiesagree thatlftim ely paym entsare notm ade pursttant
          to thisagreem ent,thatAttorney m ay w ithdraw from thism atter.

                 Client and undersir ed Guarantor ackpow .ledge that Attorney incurs certain
          expensesin setting up a new clientfile;therefore,even ifthe clientdischargesAttorney,
          the entire fee shallbe non-reftm dable.
                                                     h.

                  Client alld undersir ed Guarantor shall be responsible for all out of pocket
          expenses incurred by Attorney in addition to the legalfees herein. These m ay be for
          court costs and fees, a process server, witness fees, court reporters, videographers,
          trmzscripts and investigations costs. The Attorney w illdiscuss the incurrence of these
          costspriorto obligation ofthe Clientand undersigned Guarantor forsuch expenses. The
          Client will make a deposit of $5,000.00 ihto the Attop ey's trust. account for these
          CXPCnSCS.

                 lfany m onetary '
                                 requestby Attorney is notpaid within 15 days ofreceiplby the
          Clientand undersigned Guarantors,itshallbearinterestattherate of 12% peryear,from
          the 15thday untilpaid. Ifthe Atlom ey com mences litigation to collectany sum sdue, he
          shallbe entitled to compensation from the Clientand undersigned Guarantors atthe rate
          of$500.00perhourforsuch litigation.
                Any fines or'court costs assessed against the Client by the court are the sole
          responsibility ofthe Client.

                The Clientshallprom ptly advise the Attorney ifhe receives any written or oral
          comm unication from the Courtoranyoneelse concerning hiscase.
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                 This docum ent contains the entire agreem ent between the parties and m ay be
          moditled only in writing. n is docum ent supersedes any oral discussions or
          representationswith respectto the issuescontained herein.

                ThisagreementshallbegovernedbythelawsoftheStateofFlorida.Venueshall
         be properin M lam i-D ade County,Floridaforany action hereunder.

                 IN W ITNESS W HEREOF,thepartieshave hereunto settheirhands and seals this
          19th day ofOctober,2017.

                PAUL D .PETRUZZI,P.A,


                By:
                      PaulD .Petruzzi,Esq.            AbdulPierrelus
                                                      Client



                                                      LourdjieJadotte
                                                      Guarantor
